Case 2:20-cv-03037-GGG-KWR Document1 Filed 11/09/20 Page 1 of 4

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

ROBERT LEE MURRAY CIVIL ACTION NO.
Plaintiff
VERSUS

JEFFERSON PARISH SCHOGL BOARD
KELLY SERVICES, INC., KELLY
EDUCATIONAL STAFFING AND THEIR
INSURERS, ABC INSURANCE COMPANIES

Cn a a a a

Defendants *
PRK EER AERA RR ERE RE REE RRR ERE ERE ERE REE RAE RRA E RAK AREER KEE RARER

COMPLAINT

NOW INTO COURT, through undersigned counsel, comes plaintiff, ROBERT LEE
MURRAY, a resident of the Parish of Orleans, State of Louisiana, complaining against the
Defendants, who alleges as follows:

JURISDICTION
1.

This is a civil action seeking damages and other equitable relief against the defendants,
Jefferson Parish School Board, Kelly Services, Inc. and Kelly Educational Staffing for committing
acts under color of law, which deprived the plaintiff, Robert Lee Murray, of his civil rights as
guaranteed by the Constitution and laws of the United States of America and thus defendants
violated Title VII of the Civil Rights Act of 1964, and 42 U.S.C. § 1983, by discriminating against

Robert Lee Murray on the basis of his race and national origin through employment discrimination.

Page | of 4

 
Case 2:20-cv-03037-GGG-KWR Document1 Filed 11/09/20 Page 2 of 4

VENUE
IT.

The unlawful actions about which plaintiff complains occurred with the Eastern District
of Louisiana, in the Parish of Orleans. Pursuant to 28 U.S.C. 1391, this Honorable Court is a
proper venue for this action.

THE PARTIES
TH,

At all times relevant hereto, plaintiff, Robert Lee Murray, “Murray,” is a person of full age
and majority, resident of Orleans Parish, citizen of the United States of America and domiciled in
the Eastern District of Louisiana, who was a candidate for employment by Jefferson Parish School
Board employed by Kelly Services, Inc. in Orleans Parish.

At all times relevant thereto, defendant, Jefferson Parish School Board, “JPSB”, was a
governmental body operating in Jefferson Parish.

At all times relevant thereto, defendant, Kelly Services, Inc., “Kelly”, was a non-Louisiana
business corporation registered in Delaware, that is registered to do business in the State of
Louisiana with its principal business office in Michigan.

At all times relevant thereto, defendant, Kelly Educational Staffing,”"KES”, was a domestic
business corporation registered and doing business in the State of Louisiana.

At all times relevant thereto, defendants were insured by ABC insurance companies,

fictitious foreign, non-Louisiana business corporations registered and doing business in the State

of Louisiana.

Page 2 of 4

 
Case 2:20-cv-03037-GGG-KWR Document1 Filed 11/09/20 Page 3 of 4

FACTS
IV.

On or about July 10, 2018, Murray was hired as an employee of Kelly, and was initially
hired as a substitute teacher by JPSB through Kelly. KES acts as a contractor to JPSB for
background and criminal records checks. KES did the background check and found offenses
committed by Murray more twenty-five (25) years ago; however, it is the legal policy of JPSB not
to consider, for hiring purposes, offenses committed more than ten (10) years ago. Nevertheless,
Mutray was dismissed from employment. Murray was told that a new law had taken effect July
1, 2018, and that was the reason he was fired from employment. Moreover, the criminal
background check was seriously flawed. Murray avers that he was not given an opportunity to
challenge and/or dispute (in writing or verbally) the erroneous information presented m the flawed
criminal background report.

On December 6, 2018 Murray filed a complaint with the United States Equal Employment
Opportunity Commission, (“EEOC”), New Orleans, Louisiana field office, based on violations of
Title VII of the Civil Rights Act of 1964.

DAMAGES
V.

Asa direct result of defendants’ unlawful actions, Murray has suffered non-economic harm
in the form of emotional distress, pain, humiliation and embarrassment. Additionally, as a direct
result of defendants’ unlawful actions, plaintiff has suffered economic harm in the form of lost

wages and benefits and has sustained other pecuniary losses.

Page 3 of 4

 
Case 2:20-cv-03037-GGG-KWR Document1 Filed 11/09/20 Page 4 of 4

RELIEF REQUESTED

VI.

WHEREFORE, plaintiff, Robert Lee Murray, prays that this Honorable Court cause

service to be issued upon defendants. Plaintiff further demands that upon hearing of this Cause,

prays that this Honorable Court:

a)

b)

d)

Award plaintiff back pay, lost benefits, and other pecuniary losses proximately
caused by defendants’ unlawful conduct;

Award plaintiff compensatory damages against defendants in an amount to be
determined by this Honorable Court;

Award plaintiff punitive damages against defendants in an amount to be determined

by this Honorable Court;
Award plaintiff all costs, disbursements, pre-judgment interest, post-judgment
interest, expert witness fees and reasonable attorneys’ fees allowed under actions

brought pursuant to Title VII of the Civil Rights Acts of 1964, and 42 U.S.C. §1983;

and
Such further relief as is deemed just and proper.

Dated this 9th day of November, 2020.

Respectfully submitted,

/s/ Sharon D. Williams

SHARON D. WILLIAMS

Bar No. 27730

1100 Poydras Street, Suite 2900

New Orleans, Louisiana 70163

Telephone: (504)585-7339

Facsimile: (504)585-7301

Email: holtlawfirm.neworleans@yahoo.com
Attorney for Robert Lee Murray

Page 4 of 4

 
